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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION
                                    www.flsb.uscourts.gov

IN RE:                                                            Chapter 11 Cases

VITAL PHARMACEUTICALS, INC., et al.,1                             Case No.: 22-17842-PDR

         Debtors.                                                 (Jointly Administered)
______________________________________________ /

       DEBTORS’ APPLICATION FOR APPROVAL OF THE EMPLOYMENT OF
      DANIEL L. GEYSER AND THE LAW FIRM OF HAYNES AND BOONE, LLP,
          AS SPECIAL COUNSEL TO THE DEBTORS, EFFECTIVE AS OF
                            NOVEMBER 3. 2022

         Vital Pharmaceuticals, Inc., Bang Energy Canada, Inc., JHO Intellectual Property

Holdings, EEC, JHO Real Estate Investment, EEC, Quash Seltzer, EEC, Rainbow Unicorn Bev

EEC and Vital Pharmaceuticals International Sales, Inc. (collectively, the “Debtors”), by and

through their proposed undersigned counsel, pursuant to 11 U.S.C. § 327(e), Fed. R. Bankr. P.

2014(a), 2016 and 6003, Local Rules 2014-1(A) and 2016-1(A), hereby file this Debtors’

Application for Approval of the Employment of Daniel L. Geyser and the Law Firm of Haynes

and Boone, LLP, as Special Counsel to the Debtors, Effective as of November 3, 2022 (the

“Application”), seeking approval of the employment of the law firm of Haynes and Boone, LLP

(“Haynes Boone”!, as special counsel to the Debtors, to represent the Debtors, Vital

Pharmaceuticals, Inc. (“VPX”) and JHO Intellectual Property Holdings, EEC (“JHO”) in

connection with an appeal commenced by VPX and JHO in the United States Court of Appeals for




1 The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors'
federal tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc.
(5454); (iii) JHO Intellectual Property Holdings, EEC (0010); (iv) JHO Real Estate Investment, EEC
(9394); (v) Quash Seltzer, EEC (6501); (vi) Rainbow Unicom Bev EEC (2254); and (vii) Vital
Pharmaceuticals International Sales, Inc. (8019).



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the Ninth Circuit, Nos. 22-55722 & 22-56019 (the “OBI Appeal”), of a final judgment confirming

an arbitration award entered in favor of Orange Bang, Inc. (“OBI”) and Monster Energy Co.

(“Monster”) in the arbitration proceeding captioned Orange Bang, Inc. and Monster Energy

Company v. Vital Pharmaceuticals, Inc. d/b/a VPX Sports, AAA Case No. 01-20-0005-6081,

pending before the American Arbitration Association (the “Arbitration Proceeding”! and, to the

extent necessary, in any future proceedings relating to the OBI Appeal in the Supreme Court of

the United States. In support of the Application, the Debtors rely upon the Declaration ofDaniel

L. Geyser, on BehalfofHaynes and Boone, LLP, as Proposed Special Counsel to the Debtors (the

“Geyser Declaration”), and respectfully represent as follows:

                                     Jurisdiction and Venue

         1.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b).

         2.    Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409 .

         3.    The statutory predicates for the relief sought herein are section 327(e) of chapter

11 of title 11 of the United States Code (the “Bankruptcy C ode”). Rules 2014(a) an d 2016 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Local Rules 2014-

1(A) and 2016-1(A).

                                           Background

         4.    On October 10, 2022 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of title 11 of the Bankruptcy Code.

         5.    The Debtors are operating their business and managing their affairs as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

         6.    For a detailed description of the Debtors and their operation, the Debtors

respectfully refer the Court and parties in interest to the Declaration of John C. DiDonato in

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Support of Chapter 11 Petitions and First Day Pleadings [ECF No. 26] (the “First Day

Declaration”).

                                           The OBI Appeal

         7.      On April 6, 2022, a Final Arbitration Award - Phase I and Phase 2, (the “Final

Arbitration Award”] was entered in the Arbitration Proceeding in favor of OBI and Monster and

against VPX and JHO. On October 28, 2022, VPX and JHO filed a Notice of Appeal From

Judgment or Order of a United States District Court with respect to the Final Arbitration Award,

with the United States District Court for the Central District of California, in the case captioned

Vital Pharmaceuticals, Inc. and JHO Intellectual Property v. Orange Bang, Inc. and Monster

Energy Company, Case No. 5:20-cv-1464-DSF-SHK, thereby commencing the OBI Appeal.

                                          Relief Requested

         8.      By this Motion, the Debtors seek authorization to retain Haynes Boone to represent

VPX and JHO in the OBI Appeal, and, to the extent necessary, in any future proceedings relating

to that appeal in the Supreme Court of the United States.

         9.      The Debtors have determined that obtaining the services of Haynes Boone to

represent VPX and JHO in the OBI Appeal is in the best interests of the Debtors and their estates.

         10.     Accordingly, by this Application, the Debtors seek to employ Daniel L. Geyser

(“Geyser”) and Haynes Boone pursuant to the terms of the Engagement Letter dated November 3,

2022 (the “Engagement Letter”) attached hereto as Exhibit “A”. As set forth in the Engagement

Letter, Haynes Boone is requesting the payment of a post-petition retainer in the amount of

$25,000.00, as security for the costs, expenses, and fees to be incurred in connection with this

engagement.

         11.     The Debtors believe the employment of Geyser and Haynes Boone is necessary and

in the best interests of the Debtors’ estates.

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         12.    The Debtors have selected Geyser and Haynes Boone because they are well

qualified to represent VPX and JHO in the OBI Appeal. As described more fully in his

accompanying declaration, Geyser is the Chair of Haynes Boone’s U.S. Supreme Court Practice,

and he is widely recognized as one of the top appellate lawyers in the country. He has argued 14

cases before the Supreme Court (including multiple arbitration-related matters) and regularly

appears before the federal courts of appeals nationwide; he also routinely handles appeals in the

Ninth Circuit, and has argued before the en banc court (winning 10-1).

         13.    Geyser has extensive experience and knowledge with respect to such matters and

is well-qualified to act as counsel on behalf of VPX and JHO.

         14.    The Debtors believe that Geyser and Haynes Boone are well qualified to represent

VPX and JHO, and they have consented to providing such services to VPX and JHO, subject to

the approval of this Court.

         15.    As set forth above, the requested retention by the Debtors of Haynes Boone is

sought pursuant to section 327(e) of the Bankruptcy Code.

         16.    This Court may approve the Debtors’ employment, “for a specified special purp ose,

other than to represent the trustee in conducting the case, an attorney that has represented the

debtor, if in the best interest of the estate, and if such attorney does not represent or hold any

interest adverse to the debtor or to the estate with respect to the matter on which such attorney is

to be employed.” 11 U.S.C. § 327(e).

         17.    Attached hereto as Exhibit “B” is the Geyser Declaration in which Geyser testifies

that, to the best of his knowledge, neither he nor Haynes Boone hold any interest adverse to the

Debtors or their estates with respect to the matters on which they are to be employed.

         18.    Geyser has agreed to work cooperatively with the Debtors’ other professionals to

avoid duplicative and/or competing efforts.

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          19.    The Debtors seek entry of an order approving the employment of Geyser and

Haynes Boone effective as of November 3, 2022.

         WHEREFORE, the Debtors respectfully request the entry of an order, in the form attached

hereto as Exhibit “C”, (i) approving the Debtors’ employment of Geyser and Haynes Boone as

special counsel to the Debtors; and (ii) granting the Debtors such other and further relief as may

be just and proper.

Dated: December 21, 2022                               Respectfully submitted,
       Miami, Florida
                                                        s .lordi Guso__________________
George A. Davis (admittedpro hac vice)                 Jordi Guso
Tianjiao (“TJ”) Li (admittedpro hac vice)              Florida Bar No. 863580
Brian S. Rosen (admittedpro hac vice)                  Michael J. Niles
Jonathan J. Weichselbaum (admitted pro hac             Florida Bar No. 107203
LATHAM & WATKINS LLP                                   BERGER SINGERMAN LLP
1271 Avenue of the Americas                            1450 Brickell Avenue, Suite 1900
New York, NY 10020                                     Miami, FL 33131
Telephone: (212) 906-1200                              Telephone: (305) 755-9500
Email: george.davis@lw.com                             Email: iguso@bergersingerman.com
        ti.li@lw.com                                            mniles@bergersingerman.com
        brian.rosen@lw.com
        ion.weichselbaum@lw.com

- and -

Andrew D. Sorkin (admittedpro hac vice)
LATHAM & WATKINS LLP
555 Eleventh Street, NW, Suite 1000
Washington, D.C. 20004
Telephone: (202) 637-2200
Email: andrew.sorkin@lw.com

- and -

Whit Morley (admittedpro hac vice)
LATHAM & WATKINS LLP
330 North Wabash Avenue, Suite 2800
Chicago, IE 60611
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                                     EXHIBIT A
                                 (Engagement Letter)




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HAYNES BOONE
                                                                                     Daniel L. Geyser
                                                                                                         CD
                                                                            Direct Tel: 303.382.6219
                                                                                     Fax: 303.382.6210
                                                                        daniel.geyser@haynesboone. com

VIA ELECTRONIC MAIL

November 3,2022

Mr. Gregg Metzger
Chief Litigation Counsel
Bang | VPX | Redline
1600 N. Park Drive
Weston, FL 33326
(786) 417-0104
Gregg.Metzger@bangenergy. com

       Re:    Engagement of Haynes and Boone, LLP for appellate litigation arising out
              of Vital Pharmaceuticals, Inc., et al. v. Orange Bang, Inc., et al., No. 20-cv-
              01464 (C.D. Cal.)

Dear Mr. Metzger:

        I am very pleased to confirm Haynes Boone’s representation of Vital
Pharmaceuticals, Inc. and JHO Intellectual Property Holdings, LLC (the “clients”) as
appellate counsel in the above-captioned case. It is the firm’s policy to set forth at the outset
the exclusive terms under which Haynes Boone and you have agreed for the firm to
undertake this representation. We believe that a clear understanding of these matters is
helpful in maintaining a strong and productive professional relationship. I encourage you
to carefully consider the contents of this letter and to ask any questions that you have about
its terms.

        Scope of Engagement. The clients retain Haynes Boone to represent them before
the U.S. Court of Appeals for the Ninth Circuit and, if necessary, future proceedings before
the Supreme Court of the United States. While we are prepared to handle all aspects of the
appeal (including briefing the case and presenting oral argument), we anticipate working
together with your existing counsel, participating as appropriate under your and their
direction.

      This agreement does not cover any other services (in this matter or any other
proceeding) except as described above. If the clients later wish to retain Haynes Boone to




Haynes and Boone, LLP         675 15th Street | Suite 2200 | Denver, CO 80202
                               303.382.6200 | haynesboone.com
                              t:
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Mr. Gregg Metzger, Chief Litigation Counsel
November 3, 2022
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provide any other services, the firm is delighted to discuss expanding the agreement. But
any services other than those described above must be negotiated and confirmed in a
separate engagement letter.

       After the completion of our work on the matter, changes may occur in the applicable
laws or regulations that could affect your future rights and liabilities. Unless you engage us
after completion of our engagement to provide additional advice on issues arising from the
matter, you agree that the firm has no continuing obligation to advise you with respect to
future legal developments.

        Staffing. I expect to personally assume the primary role in handling the appeal.
While I may delegate certain work to lawyers or support personnel to assist in the process,
I will always retain full responsibility for ensuring that our work meets the firm’s highest
standards of professional excellence.

       Compensation. The clients will pay the firm on an hourly basis for its work in this
engagement. I currently charge an hourly billing rate-mUSUIQQq Any other timekeepers
participating in the matter will likewise bill at their Mrmal hourly rates.

        Costs and Expenses. During the engagement, there are certain costs and expenses
(such as fees, professional printing services, travel expenses, computerized research, etc.)
that, if incurred, the clients agree to pay. On occasion, Haynes Boone may advance such
costs and expenses and include them in an invoice. Alternatively, Haynes Boone may
forward the invoices for such costs and expenses directly to the clients for payment. In
either event, these invoices will be due and payable upon receipt.

        Retainer as Security for Fees and Costs. It is our usual practice to require a
retainer before we commence work for a client. The retainer for this matter is set at $25,000,
which may be directed toward our professional fees or related expenses. The retainer may
be adjusted in the future commensurate with the anticipated work for the engagement. We
will hold this retainer as security for your payment obligations, and will place the funds in
a pooled client-trust account, which is maintained in accordance with applicable State Bar
rules. Interest earned on the pooled account is payable to a charitable foundation
established under those rules. Unless you instruct us otherwise, we will follow these
practices for funds held on your behalf.
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       Under this agreement, we have the right to apply the retainer to full or partial
payment of any invoice that is not paid within 30 days after receipt, and you agree that
amounts so applied will not be refundable. You further agree that whenever we draw upon
the retainer, we will not be obligated to perform additional services until the retainer is
restored to its original level. Once the engagement ends, we will apply the funds in the
retainer to your final invoice, and promptly return any remaining funds.

       Consent to Conflicts Respecting Unrelated Matters. Haynes Boone is a large
international firm with offices and professionals in many cities. The nature of the firm’s
practice is such that the firm may occasionally represent one client in a matter while also
representing that client’s adversary in an unrelated matter. Such concurrent
representation is undertaken only if the firm concludes, in the exercise of its professional
judgment, that it can do so impartially and without any adverse effect on our responsibilities
to either client. In executing this agreement, you agree that you do not consider any such
concurrent representation, in unrelated matters, to be inappropriate, and you consent to
any such present or future concurrent representations.

       Discharge and Withdrawal. You will have the right to terminate the firm’s
representation at any time by delivering a written notice of termination. The firm will also
have the right to withdraw from the representation at any time with your consent or for
good cause without your consent.

       If you discharge us or we elect to withdraw, you agree to take all reasonable steps to
free us of any continuing obligation to perform, and we agree to take all reasonable steps
to protect your interests while withdrawing. If a discharge or withdrawal occurs, you agree
to cover all unpaid costs and expenses incurred on your behalf, and agree to pay a
reasonable fee for any uncompensated professional services rendered as of the termination
date (including any fees incurred during the transition).

        Unless previously terminated, our representation will end when we send you our
final statement for services rendered. In the course of our representation, we will likely
come into possession of copies or originals of documents or materials belonging to you or
others. Once the matter concludes, we will make arrangements to return the materials, to
retain them in our storage facilities, or to dispose of them. Absent other arrangements, all
materials in the file may be destroyed five years after the matter has closed. We may retain
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Mr. Gregg Metzger, Chief Litigation Counsel
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our own files, including lawyer work product, pertaining to the representation.

       Disclaimer of Guarantee. The clients understand that the outcome of this matter
is unpredictable. Although Haynes Boone may offer opinions concerning the possible
results of the engagement, the firm cannot guarantee any particular result. The clients
acknowledge that the firm has made no promises of any given outcome and that any opinion
offered by Haynes Boone in the future will not constitute a guarantee.

       Entire Agreement. This letter constitutes the entire agreement between the clients
and the firm regarding this engagement, and is not subject to any oral agreements or
modifications. No obligation or undertaking that is not set forth expressly in this letter shall
be implied on the part of either the clients or the firm.
                                                   5k      5k       5k




       If, after review of this letter, the clients find the foregoing acceptable, please sign
below. We greatly appreciate the opportunity to represent you in this important matter, and
look forward to a successful partnership now and in the future.

                                                        Very truly yours,



                                                        Daniel L. Geyser
                                                        Partner and Chair, U.S. Supreme Court Practice
                                                        Haynes and Boone, LLP

The undersigned confirms and accepts the terms and conditions of this agreement.
         Vital Pharmaceuticals, Inc. &
         JHO Intellectual Property Holdings, LLC




        Chief Litigation Counsel

 Date: 12/5/2022
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                                     EXHIBIT B
                                 (Geyser Declaration)




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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION
                                     www.flsb.uscourts.gov

IN RE:                                                          Chapter 11 Cases

VITAL PHARMACEUTICALS, INC., el a!.,1                           Case No.: 22-17842-PDR

         Debtors.                                               (Jointly Administered)
______________________________________________ /

 DECLARATION OF DANIEL L. GEYSER, ON BEHALF OF HAYNES AND BOONE,
        LLP, AS PROPOSED SPECIAL COUNSEL TO THE DEBTORS

         I, Daniel L. Geyser, do hereby declare and state as follows:

             1.    I am a partner of the law firm Haynes and Boone, LLP (“Haynes Boone”), and the

Chair of the firm’s U.S. Supreme Court Practice. Our Finn maintains an office for the practice of

law at 2323 Victory Avenue, Suite 700, Dallas, TX 75219, as well as offices in other locations in

Texas, Colorado, North Carolina, Illinois, New York, California, Washington, D.C., London,

Mexico, and China.

             2.    I am familiar with the matters set forth in this declaration, which I make in

support of the Debtors ’ Application for Approval of the Employment ofDaniel L. Geyser and the

Law Firm of Haynes and Boone, LLP, as Special Counsel to the Debtors, Effective as of

November 3, 2022 in the above-captioned case (the “Application”). Except as indicated

otherwise, I make this declaration based upon my own personal knowledge, including my review




1 The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. Tire last four digits of the
Debtors' federal tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy
Canada, Inc. (5454); (hi) JHO Intellectual Property Holdings, EEC (0010); (iv) JHO Real Estate
Investment, EEC (9394); (v) Quash Seltzer, EEC (6501); (vi) Rainbow Unicom Bev EEC (2254); and
(vii) Vital Pharmaceuticals International Sales, Inc. (8019).

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of the list of the Debtor’s creditors and interested parties, as provided by the Debtors and/or the

Debtors’ counsel.

             3.    I am the Chair of Haynes Boone’s U.S. Supreme Court Practice and a member of

its Appellate Group. I have argued 14 cases before theSupremeCourtoftheUnitedStates(with

a fifteenth argument set for December 6, 2022), and I regularly appear before the federal courts

of appeals nationwide, including in the U.S. Court of Appeals for the Ninth Circuit. In the past

four years, I have twice been named one of Law360'% “Appellate MVPs” (an honor awarded to

only four lawyers in the United States); and in the past half-decade, I rank among the top five

lawyers nationwide for total U.S. Supreme Court arguments in private practice. I have twice had

three cert, petitions granted in a 12-month period (including in 2022), and I personally handled

over 5% of the Supreme Court’s merits docket in OT 2018. I have been named to the National

Law Journal's “Appellate Hot List,” earned weekly honors as a Law360 “Legal Lion,” achieved

national appellate rankings in Chambers & Partners and The Legal 500, and been listed among

the “veritable who’s who of the Supreme Court bar” (Empirical SCOTUS). I am also a three-time

winner of NAAG’s Best Brief Award for excellence in brief-writing before the Supreme Court.

             4.    While my practice focuses on all areas of federal law, I have particular expertise

in federal arbitration law, including arguing (and winning) multiple arbitration-related cases

before the Supreme Court and arguing (and winning) an arbitration-related case in the Ninth

Circuit.

             5.    The Debtors have requested that Haynes Boone represent VPX2 and JHO in

pending appellate proceedings in the Ninth Circuit (the OBI Appeal), and, if necessary, in any



2
  Unless otherwise noted, the capitalized tenns in this declaration have the same meanings ascribed to those tenns in
the accompanying Application.
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related future proceedings before the Supreme Court. Haynes Boone has agreed to provide those

services.

             6.     For its proposed retention, Haynes Boone researched its client database to

determine whether it had any connection to the following entities: (i) the Debtors; (ii) the p arties

to the OBI Appeal; (iii) the Debtors’ consolidated thirty largest unsecured creditors; (iv) the

Debtors’ secured creditors; and (v) the Debtors’ officers, directors, and equity holders. The

results of that research did not reveal any matters adverse to the Debtors or the Debtors’ estates

concerning the matters upon which Haynes Boone is to be employed.

             7.     Other than as set forth in this declaration, Haynes Boone submits that it neither

holds nor represents any interest adverse to the Debtors or their estates concerning the matters

upon which Haynes Boone is to be employed.

             8.     Haynes Boone and I have not, and will not, represent any other entity in

 connection with these cases, nor will we accept any fee from any other party or parties in these

 cases except the Debtors, unless otherwise authorized by the Court.

             9.     The professional fees and costs that we incur in our representation shall be subject

in all respects to the application and notice requirements of 11 U.S.C. §§ 327, 330, and 331 and

Fed. R. Bankr. P. 2014.

             10.    The current rates for attorneys at Haynes Boone range from $500.00-$875.00 per

 hour for associates and $750.00-$!,650.00 per hour for partners. My current rate is $1,100.00

 per hour, although I have agreed to discount that rate to $1,000.00 per hour for this engagement.

 The current hourly rates for paralegals at Haynes Boone range from $225.00-$600.00.

             11.    There is no agreement of any kind, other than our firm’s shareholder agreement,

regarding the sharing of any compensation paid to the firm. There likewise have been no

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promises to Haynes Boone (or any of its members or associates) regarding any compensation for

these cases, other than in accordance with the Bankruptcy Code.

             12.    No attorney in our firm holds or has a right to acquire a direct or indirect equity

interest (including stock or stock warrants) in the Debtors.

             13.    No attorney in our firm is serving or has served as an officer, director, or

employee of the Debtors within two years before the Petition Date.

             14.    No attorney in our firm is in control of the Debtors or is a relative of a general

partner, director, officer, or person in control of the Debtors.

             15.    No attorney in our firm is a general or limited partner of a partnership in which

the Debtors are also a general or limited partner.

             16.    No attorney in our firm is serving or has served as an officer, director, or

 employee of a financial advisor that has been engaged by the Debtors in connection with the

 offer, sale, or issuance of a security of the Debtors, within two years before the Petition Date.

             17.    No attorney in our firm has represented a financial advisor of the Debtors in

 connection with the offer, sale, or issuance of a security of the Debtors within three years before

the filing of the petition.

             18.    No attorney in our firm has any other interest, direct or indirect, that may be

 affected by the proposed representation.

             19.    Except as set forth above, no attorney in our firm has had or presently has any

 material connection with the Debtors, the Debtors’ creditors, any other party in interest or their

 respective attorneys and accountants, the United States Trustee, or any person employed in the

 Office of the United States Trustee, on any matters in which the firm is to be engaged, except

that the firm’s members and I (i) may have appeared in the past, and may appear in the future, in

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 other cases in which one or more of said parties may be involved; and (ii) may represent, or

 may have represented, certain of the Debtors’ creditors in matters unrelated to these cases.

                                    28 U.S.C § 1746 Declaration

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed at Colorado Springs, Colorado, on December 2, 2022.



                                                Daniel L. Geyser




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                                    EXHIBIT C
                                 (Proposed Order)




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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION
                                    www.flsb.uscourts.gov

IN RE:                                                             Chapter 11 Cases

VITAL PHARMACEUTICALS, INC., et al.,1                              Case No.: 22-17842-PDR

         Debtors.                                                  (Jointly Administered)
                                                      /

        ORDER APPROVING DEBTORS’ APPLICATION FOR APPROVAL OF
      EMPLOYMENT OF DANIEL L. GEYSER AND THE LAW FIRM OF HAYNES
          AND BOONE, LLP, AS SPECIAL COUNSEL TO THE DEBTORS,
                   EFFECTIVE AS OF NOVEMBER 3, 2022

         THIS MATTER came before the Court on___________ , 2022 at________ .m./p.m., in

Fort Lauderdale, Florida, upon the Debtors ’ Application For Approval ofEmployment ofDaniel L.


1 The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors'
federal tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc.
(5454); (hi) JHO Intellectual Property Holdings, EEC (0010); (iv) JHO Real Estate Investment, EEC (9394);
(v) Quash Seltzer, EEC (6501); (vi) Rainbow Unicorn Bev EEC (2254); and (vii) Vital Pharmaceuticals
International Sales, Inc. (8019).




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Geyser and the Law Firm ofHaynes and Boone, LLP, as Special Counsel to the Debtors, Effective

as of November 3, 2022 (the “Application”) [ECF No.___]. The Court, having considered the

Application, the Engagement Letter2 attached to the Application as Exhibit “A;” and the Declaration

of Daniel L. Geyser, on Behalf of Haynes and Boone, LLP, as Proposed Special Counsel to the

Debtors, attached to the Application as Exhibit “B;” finds that: (a) the Court has jurisdiction over

this matter pursuant to 28 U.S.C. §§ 157 and 1334; (b) this matter is a core proceeding pursuant to

28 El. S.C. § 157(b)(2); (c) Haynes and Boone, LLP (i) does not hold or represent any interest adverse

to the Debtors’ estates on any matter in which Haynes and Boone, LLP is to be engaged; and (ii) has

disclosed any connections with creditors and parties-in-interest; and (d) Haynes and Boone, LLP’s

employment as special counsel to the Debtors is necessary and would be in the best interests of the

Debtors, the bankruptcy estates, and all parties-in-interest. Accordingly, it is

         ORDERED as follows:

        1.      The Application is APPROVED.

        2.      The employment of Haynes and Boone, LLP, as special counsel to the Debtors,

pursuant to the terms set forth in the Engagement Letter attached to the Application as Exhibit “A” is

APPROVED, pursuant to 11 U.S.C. § 327(e).

        3.     The Debtors are authorized to pay Haynes and Boone, LLP a post-petition retainer in

the amount of $25,000.00, which sum shall be deposited into a trust account at Haynes and Boone,

LLP, pending further order of the Court.

        4.      Haynes and Boone, LLP, as special counsel to the Debtors, shall apply for

compensation and reimbursement of costs, pursuant to 11 U.S.C. §§ 330 and 331, at its ordinary



2 Capitalized terms used but not defined herein shall have the meanings ascribed in the Application.


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rates, as they may be adjusted from time to time, for services rendered and costs incurred on behalf

of the Debtors.

        5.        This Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation of this Order.

                                                    # # #

Submitted by:
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(Attorney Guso is directed to serve this order upon all non-registered users who have yet to appear
electronically in this case andfile a conforming certificate of service.)




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